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Brooke B. Murphy

Katherine S. Huso

MATOVICH, KELLER & MURPHY, P.C.
P.O. Box 1098

Billings, MT 59103-1098

Telephone: (406) 252-5500

Facsimile: (406) 252-4613

E-mail: bmurphy@mkfirm.com

khuso@mkfirm.com
Attorneys for Defendant

IN THE U.S. DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION

 

KEVIN DUECKER,
Cause No. CV-12-56-RFC
Plaintiff,
AFFIDAVIT OF

vs. BROOKE B. MURPHY

LIBERTY MUTUAL FIRE
INSURANCE COMPANY,

Defendant.

New eee eee ee ee ee”

 

STATE OF MONTANA )
County of Yellowstone 5

Affiant Brooke B. Murphy, of lawful age and, upon her oath, deposes
and says:

1. I am an attorney licensed to practice in the State of Montana

and employed by Matovich, Keller & Murphy, P.C., and representing

EXHIBIT

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Affidavit of Brooke B. Murphy
Page 1 of 5
 

 

 

 

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Liberty Mutual Fire Insurance Company (hereinafter “Liberty Mutual’’) in
the above captioned matter.

2. On October 2, 2012, Plaintiff's counsel Matthew Gallinger
requested an extension until October 8, 2012 to serve Plaintiff's discovery
responses. See Gallinger email to Murphy (October 2, 2012), attached
hereto as Exhibit 1.

3. I sent Mr. Gallinger a follow-up email confirming that Plaintiff
had until October 8, 2012 to serve discovery responses. See Murphy email
to Gallinger (October 2, 2012), attached hereto as Exhibit 2.

4, On October 5, 2012, Mr. Gallinger sent me an email requesting
until October 23, 2012 to answer discovery. See Gallinger email to Murphy
(October 5, 2012), attached hereto as Exhibit 3.

5. I sent Mr. Gallinger a follow-up email confirming that this
would be acceptable and requesting that we schedule Plaintiff's deposition
for the week of November 5, 2012. See Murphy email to Gallinger (October
5, 2012), attached hereto as Exhibit 4.

6. Plaintiff's deposition was scheduled for November 7, 2012.

7. On October 23, 2012, I emailed Plaintiff's counsel Rodney
Hartman to inquire whether he would serve Plaintiff's discovery responses

by the end of the week, in light of the November 7, 2012 deposition date.

Affidavit of Brooke B. Murphy
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See Murphy email to Hartman (October 23, 2012), attached hereto as
Exhibit 5.

8. The next time I heard from Mr. Hartman was on October 29,
2012. Mr. Hartman left me a voice mail advising that Plaintiff would not be
serving discovery responses until November 5” or 6".

9. I sent Mr. Hartman an email advising that this would not be
acceptable in light of Plaintiff's November 7, 2012 deposition. J advised
that we needed Plaintiff's discovery responses by “Friday, November 2, at
the very latest”, and if that was not possible, then we would have to
reschedule his deposition. See Murphy email to Hartman (October 29,
2012), attached hereto as Exhibit 6.

10. On October 30, 2012, Mr. Gallinger advised me that it might
not be possible for them to serve Plaintiffs discovery responses by Friday,
November 2, 2012. He requested that I provide him with additional dates in
case we had to reschedule Plaintiffs deposition. See Gallinger email to
Murphy (October 30, 2012), attached hereto as Exhibit 7.

11. Tadvised Mr. Gallinger that we would have to reschedule
Plaintiff's deposition if they could not provide discovery responses by
November 2, 2012. I suggested rescheduling Plaintiff's deposition for

November 20, 2012. I also stated that we would have no choice but to file a

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motion to compel if Plaintiff did not serve discovery responses by November
6, 2012. See Murphy email to Gallinger (October 30, 2012), attached hereto
as Exhibit 8.

12. On November 1, 2012, Mr. Gallinger advised me that Plaintiff
would be available for a deposition on November 20, 2012. See Gallinger
email to Murphy (November 1, 2012), attached hereto as Exhibit 9.

13. Plaintiff's November 7, 2012 deposition was cancelled and
rescheduled for November 20, 2012. See Toone emails to Murphy and Huso
(November 1, 2012), attached hereto as Exhibit 10.

14. [have not heard from Plaintiffs counsel since I received Mr.
Gallinger’s email on November 1, 2012.

15. On November 12, 2012, I advised Mr. Gallinger and Mr.
Hartman that Liberty Mutual would be filing a motion to compel. See
Murphy email to Gallinger and Hartman (November 12, 2012), attached
hereto as Exhibit 11.

16. Ihave heard nothing since that time and am now left with the
prospect of once again cancelling Plaintiff's deposition, which is set for
November 20, 2012.

H/

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FURTHER AFFIANT SAYETH NAUGHT

DATED this /S) I, day of November, 2012.

Mave d frees

BROOKE B. MURPHY

STATE OF MONTANA )

County of Yellowstone )

On this {ae day of November, 2012, before me, the undersigned, a
Notary Public for the State of Montana, personally appeared Brooke B.
Murphy, known to me to be the person whose name is subscribed to the
within instrument and acknowledged to me that she executed the same.

IN WITNESS WHEREOF, I have hereunto set my hand and affixed

my Notarial Seal the day and year in this certificate first above written.

iL %
DAL loon
NOTARY PUBLIC FOR THE STATE OF

 

NOTARIAL Printed Name: : San “Toon Cc
SEAL Residing at: Boor) (VOI

 

 

 

 

MyCommission expires: 9 o1| ADI Le
ERIN TOONE mm/dd/yyyy

: State of Montana
:. | Residing at Billings, Montana
My Commission Expires
October 27, 2016

 

 

 

Affidavit of Brooke B. Murphy
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Erin Toone

From: Matthew Gallinger [maiito:Matt@tolliverlaw.com]
Sent: Tuesday, October 02, 2012 9:13 AM.-

To: Brooke Murphy ae

Cc: Katie Huso; Rod Hartman

Subject: Discovery

Dear Brooke:

It was a pleasure speaking with you today. You have given us an extension until October 8, 2012 to
answer our discovery.

| will be in touch.
Sincerely Yours,

Matt Gallinger

Matthew Gallinger
mgallinger@tolliverlaw.com
Tolliver Law Firm, P.C.

PO Box 1913

Billings, MT 59103-1913
Phone: 406-256-9600

Fax: 406-256-0781

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11/12/2012

 

 
 

 

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Erin Toone

From: Brooke Murphy
Sent: Tuesday, October 02, 2012 9:16 AM

To: Matthew Gallinger ag

Cc: Katie Huso; Rod Hartman; Ashley Frank: 'Erin'
Subject: RE: Discovery

Matt: .

This will confirm that you have until October 8, 2012 to answer discovery.

As we discussed, we look forward to scheduling your client’s deposition as soon as reasonably possible
after we have had a chance to review your responses, perhaps yet this month.

It was a pleasure.
Brooke B. Murphy

Matovich, Keller & Murphy P.C.
(406)252-5500

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Erin Toone Case 1:12-cv-00056-RWA Document 16-4 Filed 11/13/12 Page 8 of 16

From: Matthew Gallinger [mailto:Matt@tolliverlaw.com]
Sent: Friday, October 05, 2012 9:18 AM

To: Brooke Murphy

Subject: RE: Discovery

Dear Brook:

Rod is still in the hospital. It looks like he got a bad case of the flu. He will not be released until Monday,
and | do not know when he will be back to work but probably sometime late next week. | am currently
working on the discovery responses but | taking over for Rod for a trial at the end of the month and |
have a supreme court brief due the end of next week. | was wondering if | could get an extension on the
discovery responses until October 23, 2012 along with the response to the motion for a protective
order. lf this is unacceptable please let me know.

Sincerely Yours,
Matt Gallinger

Matthew Gallinger
mgallinger@tolliverlaw.com
Tolliver Law Firm, P.C.

PO Box 1913

Billings, MT 59103-1913
Phone: 406-256-9600

Fax: 406-256-0781

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Erin Toone

From: Brooke Murphy
Sent: Friday, October 05, 2012 9:47 AM

To: Matthew Gallinger

Ce: Katie Huso; Ashley Frank; ‘Erin’
Subject: RE: Discovery

Matt:

That would be fine under the circumstances. Please give Rod my best, that sounds like a nasty flu. Can
we get a deposition date for the week of November 5?

Brooke B. Murphy
Matovich, Keller & Murphy P.C.
(406)252-5500

 

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Erin Toone

From: Brooke Murphy
Sent: Tuesday, October 23, 2012 5:01 PM

To: Rod Hartman

Cc: Ashley Frank; 'Erin'; Katie Huso

Subject: RE: Duecker v. Liberty Mutual Fire Insurance Company CV-12-56
Rod:

Thank you. |am sorry you have been in the hospital but glad to hear you are back at work (and
hopefully feeling better).

Your client’s deposition is currently scheduled for November 7. | have no problem with you taking a few
more days to get me discovery. Will that be possible by the end of the week?

Brooke B. Murphy
Matovich, Keller & Murphy P.C.
(406)252-5500

EXHIBIT

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. Case 1:12-cv-00056-RWA Document 16-4 Filed 11/13/12 Page 11 of 16 =
Erin Toone

 

From: Brooke Murphy

Sent: Monday, October 29, 2012 10:47 AM
To: Matthew Gallinger; Rod Hartman
Ce: Ashley Frank; 'Erin'; Katie Huso
Subject: Duecker

Matt and Rod:

| just received Rod’s voicemail regarding discovery in this matter. He advises that now you won’t have
discovery to us until Monday the 5th or Tuesday the 6th which would be the day before your client’s
deposition. That is not acceptable. | require the responses by Friday,November 2, at the very latest. |
realize that Rod has been ill, but believe we have been more than patient in waiting for these
responses. If it is not possible for you to have the responses to us by Friday, November 2, we will once
again need to cancel and reschedule your client’s deposition. | would like to avoid doing that if at all

possible.
Please provide assurances that | will have the responses by the end of the week.
Thanks.

Brooke B. Murphy
Matovich, Keller & Murphy, P.C.
2812 First Ave. North
Suite 225
Billings, Montana 59101
Phone: (406)252-5500
Fax: (406)252-4613
Web: mkfirm.com

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From: Matthew Gallinger [mailto:Matt@tolliverlaw.com]
Sent: Tuesday, October 30, 2012 1:23 PM

To: Brooke Murphy

Subject: RE: Duecker

Dear Brooke:

| am going to be out of the office today and was gone last week. | will be in all day tomorrow and | will
find out what is going on. | believe Rod is in trial. If we cannot get you our discovery responses by
Friday | will let you know tomorrow. Please give me some dates in case | have to reschedule our client’s
deposition. | apologize for the confusion.

Sincerely Yours,

Matt

Matthew Gallinger
mgallinger@tolliverlaw.com
Tolliver Law Firm, P.C.

PO Box 1913

Billings, MT 59103-1913
Phone: 406-256-9600

Fax: 406-256-0781

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Erin Toone

 

From: Brooke Murphy
Sent: Tuesday, October 30, 2012 1:33 PM

To: Matthew Gallinger

Cc: Katie Huso; Ashley Frank; Erin Toone
Subject: RE: Duecker

Matt:

| am more than a little frustrated with our inability to get your client’s deposition taken due to late
discovery (this is the second time we have had to reschedule). | understand that Rod has been sick, but
would still like to take your client’s deposition as soon as possible so that we can move this case towards
mediation.

It does not sound like | will have the discovery before Friday. If that is the case, then let’s go ahead and
reschedule Mr. Duecker’s deposition for November 20. That is the first day | have available in the next
two weeks. | would still like your client’s discovery by November 6 at the latest, as Rod indicated in his
voice mail. If | do not have complete discovery by the end of the day on Tuesday, November 6, | will be
left with no choice but to file a Motion to Compel.

Please let me know if that date works. If it does, let’s lock it down and see if we can get a mediation
scheduled, as we discussed earlier, sometime in December or January.

Expert disclosures are due on January 11. | assume you will be cooperative in granting us an extension
for that deadline, since we served discovery in July and have yet to receive your client’s responses to the
same.

Thanks. Please let me know.

Brooke B. Murphy

Matovich, Keller & Murphy P.C.
(406)252-5500

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From: Matthew Gallinger [mailto:Matt@tolliverlaw.com]
Sent: Thursday, November 01, 2012 10:57 AM

To: Brooke Murphy

Subject: RE: Duecker

Brooke:

Still waiting to hear from Kevin. | will try again later today. Of course | will work with you on experts.
Once | hear from Kevin | will be in touch.

If you have any questions, please contact me.
Sincerely Yours,

Matt

Matthew Gallinger
mgallinger@folliverlaw.com
Tolliver Law Firm, P.C.

PO Box 1913

Billings, MT 59103-1913
Phone: 406-256-9600

Fax: 406-256-0781

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Katie Huso

 

From: Brooke Murphy

Sent: Thursday, November 01, 2012 3:12 PM
To: Matthew Gallinger

Cc: Katie Huso; Ashley Frank; 'Erin'
Subject: RE: Duecker

Thanks Matt.
We will cancel the deposition on Wednesday.
Brooke B. Murphy

Matovich, Keller & Murphy P.C.
(406)252-5500

 

EXHIBIT

10.

 
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Erin Toone

From: Brooke Murphy

Sent: Monday, November 12, 2012 9:48 AM
To: Matthew Gallinger; Rod Hartman

Cc: Katie Huso; Ashley Frank; 'Erin'
Subject: Duecker Discovery

Matt and Rod:

We are filing a Motion to Compel your client’s responses today. We will seek our costs in filing this
motion.

Brooke B. Murphy
Matovich, Keller & Murphy, P.C.
2812 First Ave. North
Suite 225
Billings, Montana 59101
Phone: (406)252-5500
Fax: (406)252-4613
Web: mkfirm.com

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